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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 HEADWATER RESEARCH LLC

                Plaintiff,

        v.                                             Case No. 2:23-cv-00641-JRG-RSP

 SAMSUNG ELECTRONICS CO., LTD and                         JURY TRIAL DEMANDED
 SAMSUNG ELECTRONICS AMERICA, INC.,

                 Defendants.

              JOINT CLAIM CONSTRUCTION CHART UNDER P.R. 4-5(d)

       Pursuant to Local Patent Rule 4-5(d), Plaintiff Headwater Research LLC (“Headwater”)

and Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(collectively, “Samsung”) jointly submit this Joint Claim Construction Chart containing the agreed

and disputed claim term, phrase, or clause of U.S. Patent No. 9,647,918 (“’918 patent”). A chart

identifying the parties’ disputed constructions is attached as Exhibit A, listing the complete

language of claims with terms in bold type and separate columns for each party’s proposed

construction, pursuant to P.R. 4-5(d). The parties have not agreed upon any constructions.


 Dated: March 21, 2025                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on March 21, 2025, with a copy of this document via the Court’s CM/ECF.


                                                           /s/ Marc Fenster
                                                           Marc Fenster
